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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


 SCOTT et al.,                                 )
                                               )
               Plaintiffs,                     )
                                               )       1:08-cv-0150-SEB-TAB
        vs.                                    )
                                               )
 THE CITY OF INDIANAPOLIS et al.,              )
                                               )
               Defendant.                      )


        ORDER DENYING MOTION TO EXCLUDE EXPERT TESTIMONY

        This cause is before the Court on Defendant The City of Indianapolis’s (“The

 City”) Motion to Exclude the Trial Testimony of Plaintiffs’ Expert, Dr. Palmer Morrel-

 Samuels [Docket No. 59], filed on July 2, 2009. In its Motion to Exclude, the City argues

 1) that Dr. Morrel-Samuels is not performing expert analysis or testimony and is therefore

 a lay witness; 2) if Dr. Morrel-Samuels is considered an expert witness, that he failed to

 describe adequately the methodology used to reach his conclusions, and; 3) that the

 conclusions Dr. Morrel-Samuels offers constitute a legal opinion. For the reasons

 detailed in this entry, Defendant’s Motion to Exclude is DENIED.



                                    Factual Background

        In 1978, the United States brought an action against the City alleging race and

 gender discrimination within the Indianapolis Police Department (“IPD”) and the

 Indianapolis Fire Department (“IFD”). As a result of that litigation, two consent decrees
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 as well as an addendum were entered in 1978, 1979, and 1981, respectively. Each of

 these orders set minimum hiring and promotional goals for race and gender within the

 IPD and IFD, and were dissolved on August 28, 2008.

        In December 2006, the Chief and the Fire Merit Board authorized promotions to

 Lieutenant and Captain, which, in effect, skipped over white officers who were ranked

 higher on the IFD’s merit list in favor of allegedly less-qualified black officers. In 2008,

 Plaintiffs filed this suit alleging that the December 2006 promotions were impermissibly

 based on race, in violation of the Equal Protection Clause of the Fourteenth Amendment

 and Title VII of the Civil Rights Act of 1964.



                                         Discussion

        The City seeks to have the Court exclude as evidence at trial the testimony of

 Plaintiffs’ expert Dr. Palmer Morrel-Samuels. The admissibility of expert testimony is

 governed by the framework set out in Federal Rule of Evidence 702 and Daubert v.

 Merrell Dow Pharms. Inc. 509 U.S. 579 (1993). Applying this framework, courts must

 undertake:

        a three-step analysis: the witness must be qualified “as an expert by
        knowledge, skill, experience, training, or education”; the expert’s reasoning
        or methodology underlying the testimony must be scientifically reliable; and
        the testimony must assist the trier of fact to understand the evidence or
        determine a fact in issue.

 Ervin v. Johnson & Johnson, Inc., 492 F.3d 901, 904 (7th Cir. 2007) (quoting Fed.R.Evid.

 702); see also Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 141 (1999) (extending

 the Daubert admissibility framework to expert testimony in the social sciences). “The
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 Daubert standard applies to all expert testimony, whether it relates to areas of traditional

 scientific competence or whether it is founded on engineering principles or other

 technical or specialized expertise.” Smith v. Ford Motor Co., 215 F.3d 713, 719 (7th Cir.

 2000) (citing Kumho, 536 U.S. at 141).



 I.     Palmer Morrel-Samuels’ Qualifications

        We begin with an analysis of Dr. Morrel-Samuels’s expertise in order to determine

 whether he is qualified to perform the calculations and arrive at the conclusions contained

 in his report. “A court should consider a proposed expert’s full range of practical

 experience as well as academic or technical training when determining whether that

 expert is qualified to render an opinion in a given area.” Smith, 215 F.3d at 718. The

 “scientific knowledge” contemplated by Daubert “connotes more than subjective belief or

 unsupported speculation.” Porter v. Whitehall Labs., Inc., 9 F.3d 607, 613-14 (7th Cir.

 1993). To suffice, the proffered expert’s must have “a grounding in the methods and

 procedures of science.” Daubert, 509 U.S. at 590.

        The City does not challenge Dr. Morrel-Samuels’s qualifications to provide the

 evidence contained in his opinion. Dr. Morrel-Samuels possesses a graduate degree in

 research methodology from the University of Chicago as well as a Master and Doctor of

 Philosophy in experimental social psychology from Columbia University. He has more

 than twenty years of consulting experience designing and analyzing assessments for large

 corporations, and has worked as a researcher or faculty member at several universities.

 He has published scholarly articles in peer-reviewed journals concerning the use of
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 statistics in the context of employment decisions, and has provided statistical analysis in

 numerous cases involving disparate impact. Based on this experience and knowledge, we

 find that Dr. Morrel-Samuels is clearly qualified to testify as an expert on the issues

 presented in this case.



 II.    The Reliability and Helpfulness of Dr. Morrel-Samuels’ Testimony

        Even a “supremely qualified expert cannot waltz into the courtroom and render

 opinions unless those opinions are based on some recognized scientific method and are

 reliable and relevant under the test set forth by the Supreme Court in Daubert.” Clark v.

 Takata Corp., 192 F.3d 750, 759 n.5 (7th Cir. 1999). The testimony of a “well

 credentialed expert who employs an undisclosed methodology” or who offers opinions

 lacking “analytically sound bases” must be excluded. Tuf Racing Products, Inc. v.

 American Suzuki Motor Corp., 223 F.3d 585, 591 (7th Cir. 2000). Thus, although the

 Court’s role does not include an assessment of the credibility or persuasiveness of the

 proffered testimony, which factual issues are left for the jury to determine, Deputy v.

 Lehman Brother’s, Inc., 345 F.3d 494, 506 (7th Cir. 2003), the Court, “in its role as a

 gate-keeper,” must nonetheless determine if Dr. Morrel-Samuels’s opinions are based on

 reliable methodology, and whether they would be helpful to a jury. Winters v. Fru-Con,

 Inc., 498 F.3d 734, 743 (7th Cir. 2007).

        The City challenges Dr. Morrel-Samuels’s testimony on the following grounds: 1)

 that Dr. Morrel-Samuel has not performed expert analysis or testimony and therefore

 must be viewed as a lay witness; 2) if Dr. Morrel-Samuels is considered an expert
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 witness, that he failed to adequately describe the methodology used to reach his

 conclusions, and; 3) that the conclusions Dr. Morrel-Samuels offers constitute legal

 opinions.

        The City’s first argument, that Dr. Morrel-Samuels has not performed expert

 analysis or testimony, and therefore must be viewed as a lay witness, is without merit.

 The City bases this argument on a statement in the Plaintiffs’ Sur-Reply to Defendant’s

 Motion for Summary Judgement, (Dkt. No. 55 p. 2), that “most of Dr. Morrel-Sameul’s

 (sic) conclusions are based on simple addition, subtraction, and the calculation of

 percentages.” The City asserts that, because Dr. Morrel-Samuels’s “conclusions are

 based upon simple arithmetic,” that “he should not be permitted to testify as to any

 conclusions or analysis which is based upon any purported scientific, technical or other

 specialized knowledge.” (Def. Brief at 1-2). The City contends that there is nothing that

 Dr. Morrel-Samuels offers by way of analysis that could not be accomplished by the fact-

 finder alone.

        In making this argument, the City oversimplifies Dr. Morrel-Samuels’ analysis. It

 would be unreasonable to expect a lay jury to effectively examine the data contained in

 the Consent Decree reports, calculate the percentages, and interpret their meaning without

 the aid of a mathematical expert. Specifically, step two of Dr. Morrel-Samuels’s analysis,

 the calculation of the degree of alleged overcorrection by the IFD, requires a statistical

 analysis beyond the capabilities of a lay jury. Therefore, on this point, the City’s

 argument fails.

        The City’s second argument, that as an expert witness Dr. Morrel-Samuels failed
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 to describe adequately the methodology he used to reach his conclusions, is also without

 merit. Because Dr. Morrel-Samuels’s analysis contains two parts, we shall discuss his

 methodology in each part separately.

        The first goal of Dr. Morrel-Samuels’s analysis was “to determine whether the

 [IFD] has met the benchmark goals for hiring and promotion of minority applicants set

 out in the Consent Decrees.” (Dkt. No. 44-4, paragraph 4.) As Dr. Morrel-Samuels

 describes in his affidavit, to answer this question he examined the Consent Decree reports

 that contained relevant demographic data of IFD employees, and compared that data to

 data taken from the U.S. Census showing the percentage of racial minorities in the eight-

 county region from which IFD draws its employees. (Dkt. No. 44-4, paragraphs 5, 6).

 Based upon this comparison, Dr. Morrel-Samuels determined that in each of the twenty-

 four cases where the IFD hired or promoted a group of applicants under the Consent

 Decree, the IFD met or surpassed the benchmark goal for hiring or promoting minority

 applicants. The City asserts that these conclusions are “unreliable because they are not

 based on any articulated theory, methodology, or standards. [Dr. Morrel-Samuels] does

 not describe the manner in which he arrives at his opinion other [than] he ‘compared

 data.’” (Def. Brief at 5).

        It is unclear exactly what additional description the City seeks here. Dr. Morrel-

 Samuels applied his expertise in research and matters of employment to gather relevant

 data from the Consent Decree reports, to which he applied simple mathematical

 procedures to determine percentages, and constructed a table by which the two sets of

 data could be compared side-by-side. No further explanation seems necessary. Dr.
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 Morrel-Samuels’s methodology which underlies his testimony - the application of

 accepted mathematical principles - is sufficiently scientifically reliable to satisfy the

 requirements of Daubert. Therefore, we find that Dr. Morrel-Samuels’s explanation was

 sufficient as to his methodology in reaching his conclusion in part one of his analysis.

        The second part of Dr. Morrel-Samuels’s analysis involved determining whether

 the IFD in making these hiring decisions had overcorrected, that is to say, it hired more

 minorities than necessary to meet the benchmark goals as set forth by the Consent Decree.

 His conclusion was that “the IFD had substantially overcorrected . . . in eighteen of the

 twenty-four instances where the IFD was required to meet the benchmark goal . . . [the]

 IFD surpassed the benchmark goal by a statistically significant margin, meaning that the

 magnitude of overcorrection in these eighteen cases could not be accounted for by chance

 alone.” (Dkt. 44-4, paragraph 8.).

        The City asserts that Dr. Morrel-Samuels refers to the methodology used to reach

 his conclusion only as a “binomial test”, but does not adequately describe “what [it] is,

 how it is used, why it is reliable, or if it is a generally accepted test in the field in which

 he professes to be an expert.” (Def. Brief at 6). The binomial distribution test is not an

 obscure or mysterious method that requires extensive explanation; rather, it is a fairly

 common method of statistical analysis that on prior occasions the Seventh Circuit has

 described as “appropriate” in employment discrimination cases. See Coates v. Johnson &

 Johnson, 756 F.2d 524, 537 n. 11 (7th Cir. 1985). It is also a test that this Court is

 familiar with. See Eli Lily and Company v. Teva Pharmaceuticals U.S.A., Inc., 2004 WL

 1724632, at *7 (S.D. Ind. 2004) (unpublished). Because the binomial distribution test is a
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 method that is accepted and recognized in the relevant scientific community, we conclude

 that Dr. Morrel-Samuels utilized a sufficiently reliable methodology in evaluating the

 data before him, and that his testimony thus meets the standard outlined in Daubert.

        The City’s third argument, that the conclusions Dr. Morrel-Samuels offers

 constitute legal opinions, is also without merit. The City contends that that Dr. Morrel-

 Samuels “opines that [the] IFD satisfied the hiring goals as required by the Consent

 Decree,” but that “he is in no position to make a determination that vestiges of past

 discrimination are now removed as required by the Decree.” (Def. Brief at 7). We find

 that Dr. Morrel-Samuels has made no such statement regarding the “vestiges of past

 discrimination,” but instead offers only factual conclusions based on mathematical

 principles. Dr. Morrel-Samuels’s first conclusion, that the percentage of minorities

 promoted by the IFD is greater than the percentage of minorities in the eight-county

 Indianapolis labor market, is a straightforward factual assertion. Dr. Morrel-Samuels’s

 second conclusion, that in some instances the City overcorrected and hired minorities in

 excess of the benchmark requirement to a statistically significant degree, is also a factual

 opinion based upon mathematical theory. These opinions by Dr. Morrel-Samuels are

 strictly factual in nature and do not constitute legal opinions.

        We also find that Dr. Morrel-Samuels’s testimony will no doubt assist the trier of

 fact. Dr. Morrel-Samuels conducted an examination of the extensive Consent Decree

 reports, compared the relevant data contained therein to demographic data from the

 surrounding area, and used his scientific expertise to provide an analysis of the IFD’s

 compliance with the Consent Decree. Dr. Morrel-Samuels’s expertise in statistical
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 analysis in the context of employment matters establishes that his testimony will be

 helpful to the resolution of the factual issues at stake.

        Based on Dr. Morrel-Samuels’s educational background, his experience in

 conducting statistical analyses similar to those used here, and the reliability of his

 methodology, we find that his expert testimony is admissible. For all the foregoing

 reasons, the City’s Motion to Exclude must be DENIED.



 III. Conclusion

        Having carefully considered the parties’ arguments regarding the admissibility of

 Dr. Morrel-Samuels’s testimony, we conclude that his testimony meets the standards set

 out in Daubert and Rule 702 of the Federal Rules of Evidence and is therefore admissible.

 Accordingly, Defendant’s Motion to Exclude is DENIED.

 IT IS SO ORDERED.

         03/25/2010
 Dated: __________________                                   _______________________________
                                                             SARAH EVANS BARKER, JUDGE
                                                             United States District Court
 Copies to:                                                  Southern District of Indiana


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